Case 1:10-cv-10546-NG Document 4 Filed 04/12/10 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

) Civ. NO. 10-CV-10546
STEVEN SURABIAN and RICHARD )
SURABIAN, ) HEARING
) PRELIMINARY INJUNCTION
Plaintiffs, )
)
V. )

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RESIDENTIAL FUNDING COMPANY, ) ne 8S =
LLC, f/k/a RESIDENTIAL FUNDING ) poe BR SE
CORPORATION, ) - Ps

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Defendant, ) ~. UD 2 5
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HEARING PRELIMINARY INJUNCTION

PLAINTIFFS, request a Preliminary Injunction on the Notice of Mortgage
Foreclosure Sale. This case was removed from Massachusetts Superior Court one day before
scheduled Motion Preliminary Injunction Friday, April 2, 2010 at 2:00 P.M. Rule 65 (a) (1) not
requiring a hearing if the Defendant does not request one.

1. The documents the Defendants present as proof to Foreclose will not hold up in this
Court. Plaintiffs will succeed on merits.

2. Plaintiffs will suffer [rreparable Harm if there property is Foreclosed on and later
Proven as claimed, the documents the Defendants used were not legal. Plaintiffs will never be
able to recover there loss. Money alone will not replace there property. If that were the case all
anyone would have to do to get a hold of a property, even though the owner did not want to sell,
would be to Foreclose with non-legal documents.

WHEREFORE, Plaintiffs pray this Court Order this Preliminary Injunction till
this case is ended.

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“ Steven Sufabian Pro Se chard Surabian Pro
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508-688-4613 508-579-9834

Dated: April 9, 2010
Case 1:10-cv-10546-NG Document 4 Filed 04/12/10 Page 2 of 2

CERTIFICATE OF SERVICE

We, certify that a true and accurate copy of the foregoing document was sent by
mail April 9, 2010, postage prepaid to the defendants attorneys, Richard E. Briansky and Joseph
P. Calandrelli,
at Prince, Lobel, Glovsky &Tye LLP 100 Cambridge Street, Suite 2200, Boston, MA 02114.

“Steven Surabién Richard Surabian

